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                                 UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY
                                       CAMDEN VICINAGE


   AARON SIEGEL, JASON COOK,                      Hon. Renée Marie Bumb, U.S.D.J.
   JOSEPH DELUCA, NICOLE CUOZZO,                  Hon. Ann Marie Donio, U.S.M.J.
   TIMOTHY VARGA, CHRISTOPHER
   STAMOS, KIM HENRY, and                         Docket No. 1:22-cv-07463
   ASSOCIATION OF NEW JERSEY RIFLE
   & PISTOL CLUBS, INC.,                                     CIVIL ACTIONS
                                                        (ELECTRONICALLY FILED)
                   Plaintiffs,

              v.

   MATTHEW J. PLATKIN, in his official
   capacity as Attorney General of the State of
   New Jersey, and PATRICK J.
   CALLAHAN, in his official capacity as
   Superintendent of the New Jersey State
   Police,

                   Defendants.



   RONALD KOONS; NICHOLAS                         Hon. Renée Marie Bumb, U.S.D.J.
   GAUDIO; JEFFREY M. MULLER; GIL                 Hon. Ann Marie Donio, U.S.M.J.
   TAL; SECOND AMENDMENT
   FOUNDATION; FIREARMS POLICY                    Docket No. 1:22-cv-07464
   COALITION, INC.; COALITION OF
   NEW JERSEY FIREARM OWNERS; and
   NEW JERSEY SECOND AMENDMENT
   SOCIETY,

                   Plaintiffs,

              v.
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   MATTHEW J. PLATKIN, in his official
   capacity as Attorney General of the State of
   New Jersey, and PATRICK J.
   CALLAHAN, in his official capacity as
   Superintendent of the New Jersey State
   Police,

                 Defendants.


       BRIEF OF BRADY AS AMICUS CURIAE IN SUPPORT OF DEFENDANTS’
     OPPOSITION TO PLAINTIFFS’ MOTIONS FOR PRELIMINARY INJUNCTION


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  I.     Interests of Amicus Curiae

         Brady is the nation’s most longstanding nonpartisan, nonprofit organization dedicated to

  reducing gun violence through education, research, and legal advocacy. Brady has a substantial

  interest in ensuring that the Constitution is construed to protect Americans’ fundamental right to

  live. Brady also has a substantial interest in protecting the authority of democratically elected

  officials to address the nation’s gun violence epidemic. Brady has filed amicus briefs in many

  cases involving the regulation of firearms, including New York State Rifle & Pistol Association,

  Inc. v. Bruen, 142 S. Ct. 2111 (2022); District of Columbia v. Heller, 554 U.S. 570 (2008), and

  Guedes v. Bureau of Alcohol, Tobacco, Firearms & Explosives, 45 F.4th 306 (D.C. Cir. 2022). 1

  II.    Introduction

         The Supreme Court has decided that law-abiding, responsible citizens have a right to

  guns for self-defense, but it is beyond dispute that the right is not unlimited and, moreover,

  carries inherent, deadly risk. Every year, many Americans are killed or injured in gun accidents.

  In 2020, more than 500 people died in the United States from unintentional firearm injuries.

  Underlying Cause of Death Database, Ctrs. Disease Control & Prevention,

  https://wonder.cdc.gov/ucd-icd10.html (last accessed Feb. 16, 2023). With gun deaths on the

  rise 2 and the number of gun owners in New Jersey tripling from 2019 to 2020, 3 the risk of New



  1
    No counsel for a party authored this brief in whole or in part, and no person other than Brady or
  its counsel made any monetary contributions intended to fund the preparation or submission of
  this brief.
  2
    In New Jersey, gun deaths increased 20 percent from 2019 to 2020. Underlying Cause of
  Death Database, CTRS. DISEASE CONTROL & PREVENTION, https://wonder.cdc.gov/ucd-
  icd10.html (last accessed Feb. 16, 2023).
  3
   Alex Napoliello, N.J. Gun Permit Applications Are Spiking. How Fear Brought
  Unprecedented Demand, NJ.COM (Jan. 14, 2021), https://www.nj.com/news/2021/01/nj-gun-
  permit-applications-are-spiking-how-fear-brought-unprecedented-demand.html.


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  Jersey residents’ being impacted by a firearm accident can only grow. 4 Beyond the human toll,

  these accidents result in substantial costs—for example, from personal injuries, property damage,

  or emergency services, as well as follow-on costs from lost wages, hospital expenses, or

  lawsuits. Tragically, these costs are often distributed as randomly and unfairly as the gun

  accidents that cause them. To better allocate these costs, New Jersey has adopted a public-

  private solution: mandatory liability insurance. N.J.P.L. 2022, c. 131 § 4 (the “Insurance

  Requirement”).

         By requiring that anyone who carries a gun in public in New Jersey have a liability-

  insurance policy covering losses or damages resulting from any accidental use of the firearm, the

  State adopts a relatively novel use of a tried-and-true method in America of managing recurring,

  common, and misallocated costs. In fact, harnessing the private market in this way is a deeply

  American solution to difficult problems. For nearly a century, governments have used liability

  insurance to allocate the costs of the risks that are inherent in a range of activities. And even

  before the advent of liability insurance, governments imposed other rules and policies to address

  such societal costs.

         Courts have also long recognized liability-insurance mandates as constitutional.

  Although such mandates are a relatively recent development in the specific context of firearm




  4
    According to research posted by the Harvard School of Public Health, a higher number of guns
  in a state correlates with a higher number of unintentional firearm deaths. Harvard Injury
  Control Research Center, Firearms Research: Accidents, HARV. SCH. PUB. HEALTH,
  https://www.hsph.harvard.edu/hicrc/firearms-research/gun-threats-and-self-defense-gun-use/
  (last visited Feb. 16, 2023) (“For every age group, where there are more guns, there are more
  accidental deaths. The mortality rate was 7 times higher in the four states with the most guns
  compared to the four states with the fewest guns.”) (citing Matthew Miller et al., Firearm
  availability and unintentional firearm deaths, 33 ACCIDENT ANALYSIS & PREVENTION 477
  (2001)).

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   regulation, implementing a proven, established mechanism for addressing risk in a new context

   does not make that regime any less constitutional.

          Although the Constitution enshrines certain gun rights, the Supreme Court has recognized

   that the Second Amendment must apply in contexts not present or contemplated at America’s

   founding. Specifically, the Supreme Court stated in Bruen that the Second Amendment was

   “intended to endure for ages to come,” and thus “can, and must, apply to circumstances beyond

   those the Founders specifically anticipated.” 142 S. Ct. at 2132 (quoting McCulloch v.

   Maryland, 17 U.S. 316, 415 (1819)).

          Insurance as we know it was in its infancy when the Second Amendment was ratified,

   and thus the founders could not have “specifically anticipated” insurance requirements related to

   the carrying of firearms. But liability insurance grew up in tandem with the development of

   American tort law, and today it forms an integral part of our systems for spreading—and even

   reducing—the costs associated with many kinds of risks. Thus, regardless of whether early

   Americans could have foreseen such a public-private mechanism to address financial risks, the

   Insurance Requirement certainly achieves cost-allocating ends that they would have supported.

   As Bruen directed, cases such as this that involve significant changes to the circumstances

   existing at the founding require a “more nuanced approach.” 142 S. Ct. at 2132. Consistent with

   the approach set out in Bruen, the Insurance Requirement accomplishes this cost allocation in a

   way that is consistent with the “how” and “why” of historical firearm regulations. Indeed, the

   Insurance Requirement achieves the same “why” of historical regulations that also allocated the

   costs of firearm accidents, but through a nuanced “how” that takes modern societal concerns and

   solutions into account. New Jersey’s Insurance Requirement will protect gun owners and gun-




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   accident victims in the event of an accident. And it should also lead to broader adoption of safe

   gun practices, as has occurred as a result of other insurance regimes.

   III.   Liability Insurance Is a Proven, Effective, and Constitutional Method of Allocating
          Costs Associated with Risks.

          For as long as there have been humans, there have been accidents. And, because of this,

   modern life entails physical risks given our relatively crowded living conditions, rapid pace, and

   extensive use of large and complex machinery and equipment. Many daily activities we take for

   granted are some of the most risky, such as driving a car. This everyday activity opens drivers

   up to the risk of getting into an accident that does damage to their car or someone else’s, causes

   injuries or deaths, results in lost work, or even leads to a lawsuit. As this example demonstrates,

   risks of bodily or property harm create financial costs. Such financial costs include property

   repairs or replacement, doctors’ or hospital bills, lost wages, and legal fees.

          In many instances, the costs of accidents are distributed randomly and unfairly. If one

   person involved in an accident cannot or will not pay, another person might end up bearing a

   disproportionate portion of the costs. See, e.g., Tom Baker & Thomas O. Farrish, Liability

   Insurance and the Regulation of Firearms, in Suing the Gun Industry, at 3 (Timothy D. Lytton

   ed., 2005) (describing the “financial ruin” that can befall those left paying for risks in the

   absence of insurance). If none of those involved can pay, then others may have to cover the

   costs—for example, public or private services, or ultimately, taxpayers.

          Liability insurance solves many of these cost-allocation problems. Through liability

   insurance, insurers agree to cover, among other things, the risk of a third party’s making a claim

   against the policyholder for accidental injuries the policyholder caused. The cost of those claims

   is transferred to insurance companies, which in turn spread that cost to their customers through

   risk-based premiums. See, e.g., id. (“loss spreading is the main attraction of liability insurance”);


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   Peter Kochenburger, Liability Insurance and Gun Violence, 46 Conn. L. Rev. 1265, 1270–71

   (2014) (describing how insurers adjust premiums based on risk). Thus, the costs associated with

   risks can be distributed among those who engage in and purchase insurance for the risk-carrying

   activity, rather than being borne out-of-pocket by an unlucky few (e.g., accident victims), or

   covered directly or indirectly by others who may have no relationship at all to the activity (e.g.,

   taxpayers). These principles about risk and risk management through modern insurance

   practices certainly apply to the activity of carrying guns in public, given the substantial

   possibility of a truly catastrophic injury or death when accidents with firearms do occur.

           Governments have regularly used public-private liability-insurance systems, rather than

   direct regulation, to address the reality that risk is attendant to many daily activities, such as

   driving a car or going to work, and to influence consumer behavior and encourage safer

   practices. For example, the costs of car accident risks have been addressed through automobile

   insurance. See, e.g., Jennifer B. Wriggins, Mandates, Markets, and Risk, 19 Conn. Ins. L.J. 275,

   289 (2013) (describing how auto insurance mandates achieved cost-spreading goals). Other

   familiar examples of insurance-based solutions to risks include worker’s compensation, which

   spreads the costs of workplace injuries, and medical malpractice insurance, which does the same

   for the costs of medical liabilities.

           These insurance systems are vital to Americans’ ability to carry on daily life without fear

   of crushing, unexpected costs. But the environment that enabled these insurance-based solutions

   to thrive did not spring up overnight. Rather, American liability insurance—and ultimately,

   government-mandated liability insurance—developed in step with other legal and societal

   changes over our nation’s history. This section provides a brief overview of this development.




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          A.      American Liability Insurance Developed in Response to New Legal Systems
                  for Imposing Liability.

          In a broad sense, people have used “insurance” to spread the costs associated with risks

   since ancient times. See Historical Development of Insurance, Britannica,

   https://www.britannica.com/topic/insurance/Historical-development-of-insurance. Certain forms

   of insurance—for example, insuring against fires or marine risks—were prevalent in England in

   the 17th and 18th centuries, and likewise took root in early America. See id; see also Hannah

   Farber, Underwriters of the United States: How Insurance Shaped the American Founding

   (2021). Indeed, Benjamin Franklin was one of the first proponents of insurance in the American

   colonies, and founded an early fire-insurance company in 1752. See History, The Philadelphia

   Contributorship, https://1752.com/about-us/history/.

          In the context of firearm regulations, in the roughly 20 years leading up to and shortly

   after the ratification of the Fourteenth Amendment, nine jurisdictions enacted “surety statutes”

   requiring individuals to have a bond posted before they could carry a firearm. See Eric M.

   Ruben & Saul Cornell, Firearm Regionalism and Public Carry: Placing Southern Antebellum

   Case Law in Context, 125 Yale L.J. F. 121, 131 (2015); David B. Kopel, The First Century of

   Right to Arms Litigation, 14 Geo. J.L. Pub. Pol. 127, 131 fn. 14 (2016). The Bruen Court

   rejected any notion that such requirements were “a severe constraint” on Second Amendment

   conduct, observing that “the surety laws did not prohibit public carry in locations frequented by

   the general community,” and that “the burden these surety statutes may have had on the right to

   public carry was likely too insignificant to shed light on” the regulation at issue. 142 S. Ct. at

   2148–149. At the same time, the Court recognized that the minimal economic burden that these

   statutes imposed promoted public interests, including the “prevention” of gun-related harms, and

   “provid[ing] financial incentives for responsible arms carrying.” Id. at 2150.


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          Over time, a system for insuring against liability sprang up in response to new and

   changing laws for imposing liability. In early English and American common law, individuals

   who caused accidents were often held strictly liable. This strict approach to holding those

   deemed responsible for accidents liable continued for all kinds of torts until the middle of the

   19th century. See, e.g., Cornelius J. Peck, Negligence and Liability Without Fault in Tort Law,

   46 Wash. L. Rev. 225, 226 (1971) (“Scholars today agree that a rule of strict liability prevailed at

   the early stages of development of the common law, usually rendering an actor liable if he in fact

   caused injury to another.”); James Fleming, Jr., Accident Liability: Some Wartime Developments,

   55 Yale L.J. 365, 365 (1946) (“Before the industrial revolution, liability was imposed in this

   field [of accidents], without much regard to fault, upon the person whose act directly produced

   the harm.”).

          For a number of reasons—among them, the sheer increase in accidents giving rise to

   liabilities, due to industrialization, modern warfare, and other societal changes—American courts

   in the mid-1800s developed a negligence standard, under which liability would be imposed only

   if “the actor were guilty of some fault or neglect.” Peck, at 227; see also John Fabian Witt,

   Toward a New History of American Accident Law, 114 Harv. L. Rev. 690, 694 (2001)

   (describing the “accident crisis” during the 19th century, which gave rise to changes in the tort

   system, as well as insurance-related innovations).

          As negligence law emerged, so did liability insurance, “to insure against the

   consequences of negligence.” Kenneth S. Abraham, Liability Insurance and Accident

   Prevention: The Evolution of an Idea, 64 Md. L. Rev. 573, 576 (2005); id. at 573 (describing the

   “symbiotic relationship between tort liability and insurance during this entire period” of “the

   middle of the nineteenth century to the present”). The precursors of modern liability insurance



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   were first sold in the United States in the second half of the 19th century. See, e.g., id. at 580

   (“Liability insurance was first marketed in the United States in the 1880s, having been imported

   from Great Britain, where it was also a very recent invention.”); Accident Insurance, 4 Am. L.

   Rev. 585, 585 (1873) (Late-19th century commentator stating that “[a]ccident insurance is of

   modern origin”; “the first American company is only ten years old”).

          As liability insurance became more prevalent, Americans came to understand that this

   insurance was both a way to protect defendants from liability and an important mechanism for

   covering the costs of accidents, for the benefit of victims. The Supreme Court was quick to

   recognize this benefit as well. In 1886, the Court recognized that “[b]y obtaining insurance,” the

   insured “increases his means of meeting th[e] responsibility” to compensate the victims of his

   negligence. Phoenix Ins. Co. v. Erie & W. Transp. Co., 117 U.S. 312, 324 (1886).

          Thus, although insurance as we now know it did not exist in the United States at the time

   of the founding, modern liability insurance has developed in step with the evolution of accident

   risk, costs, and the legal systems for assigning those costs over our nation’s history.

          B.      American Governments Have Long Required Liability Insurance for Risky
                  Activities.

          Given these symbiotic benefits involving American tort law and liability insurance, it did

   not take long for governments to begin requiring liability insurance as a way to ensure payment

   of accident costs. Around the turn of the 20th century, states began enacting workers’

   compensation laws to address the skyrocketing costs of industrial accidents. See Abraham, at

   585. A few years after that, states applied the same principle to car accident liability through

   mandatory auto insurance. See id. at 594. As government-required liability insurance created

   large risk pools, liability insurance came to be understood as not merely a way for the insured to




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   “meet its responsibility” to pay for the costs of accidents—as the Supreme Court recognized in

   the late 1800s—but also as a powerful mechanism for “spreading the risk of loss.” Id. at 606.

          Indeed, the cost-sharing aspects of liability insurance are particularly effective when

   implemented at a community scale, which can often be achieved only through insurance

   mandates. If only the lowest-risk individuals purchase insurance, and the riskiest individuals go

   uncovered, many of the benefits of liability insurance are reduced: victims’ ability to recover

   compensation for their injuries will depend on whether the individual who caused the accident

   has sufficient funds, and uninsured individuals may bear astronomical medical or legal costs of

   an accident. See, e.g., Kochenburger, at 1295 (describing problems where “[t]hose most likely”

   to cause injury “are not likely to be insured”). Conversely, if only the highest-risk individuals

   purchase insurance, because they know they are the most likely to make a claim, insurance

   companies may have to charge higher rates. Wriggins, at 287 (describing the problem of

   “adverse selection”). Thus, “rates go up . . . and the victims of many accidents go

   uncompensated, which spreads the costs throughout society.” Id. at 291. By including as many

   of the individuals in a community as possible who are participating in a risk in the risk pool,

   however, “insurance markets can work better for the benefit of consumers.” Id. at 288.

   Insurance mandates require that participants in an activity carrying some level of risk obtain

   insurance, and thus help ensure that the costs of the risk are distributed optimally.

          As the positive results of such cost-sharing became evident, Americans came to see that

   the powerful combination of tort-law reform and liability insurance was capable of allocating the

   costs of accident risks in ways that the old system never could have. As one commentator

   writing in the mid-20th century put it, “[t]here is a growing belief that in this mechanical age the

   victims of accidents can, as a class, ill afford to bear their loss; that the social consequences of



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   uncompensated loss are dire and far exceed the amount of the loss itself; and that more good will

   come from distributing these losses among all the beneficiaries of mechanical progress than by

   letting compensation turn upon an inquiry into fault,” as it had under the early American tort

   system. Fleming, Jr., at 365 (emphasis added).

          By the 1960s and 1970s, Americans began considering not only the victim-compensation

   and cost-spreading benefits of the tort-liability-insurance system, but also “the relation between

   liability insurance and accident prevention.” Abraham, at 610 (emphasis added). Insurance

   companies have a financial interest in gathering detailed actuarial information that will help them

   price risks. See Baker & Farrish, at 5 (“Once an insurance institution assumes responsibility for

   the financial consequences of a given harm, it has an incentive to prevent that harm.”).

   Insurance companies can use that information to incentivize behaviors that they determine

   reduce risks. See, e.g., Kochenburger, at 1270–71 (“There is a long and often favorable story to

   tell of how insurance has enhanced public safety.”). The benefit for the insurance companies is

   reduced payouts and the benefit for society is risk prevention.

          For example, in workers’ compensation—an area in which New Jersey and other

   governments require insurance—insurance companies offer better rates to businesses that make

   their workplaces safer. See Occupational Safety and Health Administration, Business Case for

   Safety and Health, https://www.osha.gov/businesscase/benefits (noting multiple studies that find

   safer workplaces result in lower workers’ compensation costs). Similarly, medical malpractice

   insurance identifies risky providers, encourages safer practices, and collects data that pinpoint

   the causes of medical errors. Tom Baker & Charles Silver, How Liability Insurers Protect

   Patients and Improve Safety, 68 DePaul L. Rev. 211, 226 (2019) (“Liability insurers and their

   industry groups have facilitated and supplemented the work of physicians and their professional



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   societies by sharing closed claim data, providing analyses, and developing treatment guidelines

   of their own.”). Car insurance also offers lower premiums for certain vehicle safety measures

   and rewards safe drivers. See, e.g., Allstate, 7 Easy Ways to Help Lower Your Car Insurance

   Premium, https://www.allstate.com/resources/car-insurance/how-to-lower-car-insurance-

   premiums; State Farm, Be Rewarded With Drive Safe & Save Discounts,

   https://www.statefarm.com/insurance/auto/discounts/drive-safe-save; Allstate, Safe Driving

   Bonus, https://www.allstate.com/auto-insurance/safe-driver-savings.

          Beyond their practical benefits, liability-insurance mandates are also consistent with

   American free-market ideals and approaches to complex societal issues. Rather than a top-down

   government program, mandatory liability insurance creates a public-private partnership “based

   on the very American idea that competition among insurance companies, combined with laws

   requiring coverage, will benefit consumers more than having a government program alone deal

   with the situation.” Wriggins, at 297. The resulting system “might not only be more effective

   and less costly than a government program,” but also minimizes “governmental intrusion.”

   Kochenburger, at 1296.

          In sum, liability insurance—and in particular, government-mandated liability insurance—

   is a powerful public-private system for allocating and even preventing risks. These benefits are

   not so different from early government attempts to allocate responsibility for accidents, and are

   achieved through a free-market approach that is consistent with American ideals.

          C.      American Courts Have Consistently Recognized Government-Mandated
                  Liability Insurance Is Constitutional.

          When government mandates for liability insurance were first implemented, they faced

   legal challenges similar to the one Plaintiffs bring here. But courts have had no difficulty




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   recognizing that liability-insurance mandates are solidly constitutional. See, e.g., N.Y. Cent. R.R.

   Co. v. White, 243 U.S. 188 (1917) (upholding early workers’ compensation scheme).

          Nearly 100 years ago, in Ex parte Poresky, the Supreme Court considered a suit

   involving a Fourteenth Amendment challenge to Massachusetts’ compulsory automobile liability

   insurance law. 290 U.S. 30, 31 (1933). The Court swiftly denied the claim, citing the other

   “decisions of this Court bearing upon the constitutional authority of the state, acting in the

   interest of public safety, to enact the statute assailed.” Id. at 32. Auto insurance has not faced

   serious constitutional challenge since. Today, nearly every state requires liability insurance for

   car owners.

          Similarly, both state and federal courts have upheld medical malpractice insurance

   requirements against constitutional challenges. For example, in McCoy v. Commonwealth, a

   state court considered “the constitutionality of the mandatory insurance provisions” of a state

   medical malpractice insurance act under a Fourteenth Amendment challenge. 391 A.2d 723, 724

   (Pa. Commw. Ct. 1978). The law required doctors to “either purchase insurance or develop a

   plan of self-insurance,” and required the state licensure board “to suspend or revoke the license

   of a health care provider upon a failure to comply with the mandatory insurance provisions.” Id.

   at 726. Upholding the statute, the court held that the state had the authority “to recognize the

   problem of malpractice insurance availability and to deal with it.” Id. at 727.

          Likewise, in Meier v. Anderson, when doctors challenged a related provision of the same

   law, a federal court held that the state’s actions in “controlling the medical malpractice insurance

   market” were within its constitutional authority. 692 F. Supp. 546, 552–53 (E.D. Pa. 1988),

   aff’d, 869 F.2d 590 (3d Cir. 1989) (internal quotation marks omitted). More recently, in her

   concurring opinion addressing the individual insurance mandate contained in the Affordable



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   Care Act, Justice Ginsburg pointed out that Plaintiffs had “abandoned any argument pinned to

   substantive due process” as they originally put forth and “concede that the provisions here at

   issue do not offend the Due Process Clause.” Nat’l Fed’n of Indep. Bus. v. Sebelius, 567 U.S.

   519, 613 (2012) (Ginsburg, J., concurring) (citations omitted). Though the Affordable Care

   Act’s Individual Mandate was ultimately upheld as a tax, the substantive due process claims

   against it in Sebelius had been abandoned.

           Thus, it has been well established for nearly a century that government insurance

   requirements do not present serious constitutional issues.

   IV.     Mandatory Firearm Liability Insurance Is a Sensible Solution Consistent with
           Bruen’s Historical Balance Analysis.

           New Jersey’s Insurance Requirement is part of a developing body of firearm-related

   liability-insurance requirements that are a continuation of the historical development outlined

   above. The New Jersey Insurance Requirement, like its forerunning insurance mandates, is

   constitutional because it does not implicate the Second Amendment at all. But to the extent the

   Insurance Requirement is found to infringe upon Second Amendment rights, any burden is fully

   consistent with the nation’s historical tradition of firearm regulation, particularly in light of its

   minimal nature because most New Jerseyans already possess qualifying policies and, for those

   who do not, obtaining a policy presents only a slight financial burden. 5



   5
     For example, the average cost of New Jersey homeowners’ insurance that provides the
   $300,000 liability coverage needed under the Insurance Requirement is $1,267 per year, making
   New Jersey the sixth least-expensive state for homeowners’ insurance in the nation. New Jersey
   Homeowners Insurance, INSURANCE.COM (Nov. 7, 2022), bit.ly/3K9w0PW. Renters’ insurance
   is even cheaper. A renters’ policy providing $300,000 in liability coverage costs an average of
   $249 per year, which is also lower than the national average of $347 per year for the same
   coverage. See Average Cost of Renters Insurance in New Jersey by Coverage Level,
   INSURE.COM (Feb. 6, 2022), https://bit.ly/3W7fEKK; How Much Is Renters Insurance in 2023?,
   INSURANCE.COM (Feb. 3, 2023), bit.ly/3jYhpMH.

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          New Jersey’s Insurance Requirement directs anyone who “carries a handgun in public” in

   New Jersey to carry liability insurance. The conduct at issue in the law is the procurement of

   liability insurance, which is entirely outside the original scope of protected Second Amendment

   activity. Thus, New Jersey’s Insurance Requirement in no way affects an individual’s right to

   keep or bear arms, making the Second Amendment inapplicable. See, e.g., Stephen G. Gilles &

   Nelson Lund, Mandatory Liability Insurance for Firearm Owners: Design Choices and Second

   Amendment Limits, 14 Engage: J. Federalist Soc’y Prac. Grps. 18, 21 (2013) (“There is . . . no

   general constitutional rule that citizens must be exempted from the obligation to internalize the

   costs of exercising their constitutional rights.”). Insuring an activity is not the same as engaging

   in the activity itself. See Sebelius, 567 U.S. at 558. As the Supreme Court recognized in Bruen,

   only if a plaintiff shows that “the Second Amendment’s plain text covers [the] conduct” at issue

   does the analysis proceed to an analogical inquiry comparing modern and historical laws. 142 S.

   Ct. at 2126.

          Even if the Insurance Requirement were found to infringe upon Second Amendment

   rights, any burden that it does impose is fully consistent with the nation’s historical tradition of

   firearm regulation. Under Bruen’s analogical test, there is admittedly no historical “twin” or

   “dead ringer” for New Jersey’s Insurance Requirement. Id. at 2133. Indeed, both liability

   insurance and the very social, legal, and financial systems that underpin it—much like the

   modern firearms at issue—might have been inconceivable to the founding generation. But Bruen

   explicitly provides that such historical “twins” are not required. Instead, a regulation need only

   be analogous to, and therefore consistent with, historical regulations.

          The Second Amendment is flexible enough to admit “modern regulations that were

   unimaginable at the founding.” Id. at 2132. In order to maintain this flexibility, the Bruen test



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   disregards superficial comparisons, and instead involves a higher-level analogical inquiry that

   focuses on “two metrics”: the “how” and the “why” of the way that “regulations burden a law-

   abiding citizen’s right to armed self-defense.” Id. at 2133. As Bruen explained, assessing and

   weighing a challenged regulation’s “how” and “why” is necessary to determine whether the

   regulation imposes a “comparable burden” that is “comparably justified” when compared with

   founding-era restrictions. Id.

          If the “how” and “why” are comparable to historical regulations, then the regulation is in

   keeping with the “balance struck by the founding generation,” and is constitutional. Id. at 2133

   n.7. This focus on “balance” is not the “independent means-end scrutiny” of “federal judges”

   that Bruen rejected, id., or the “freestanding ‘interest-balancing’” that Heller criticized, 554 U.S.

   at 634. Rather, Bruen’s inquiry into the balance of “how” and “why” is grounded in the “interest

   balancing by the people,” as evidenced by historical regulations. 142. S. Ct. at 2133 n.7 (quoting

   Heller, 554 U.S. at 635).

          Here, the justification for the Insurance Requirement is so great, and its relative burden, if

   any, is so minimal, that it is plainly in line with the kinds of firearm-related regulations that have

   always been accepted as constitutional.

          A.      The Insurance Requirement’s “Why” Vastly Surpasses Its “How.”

          The comparative benefits and burden of liability-insurance requirements in general have

   been discussed in some detail above. These considerations apply with equal, or even greater,

   emphasis in the context of firearms. Among the greatest public benefits of New Jersey’s

   Insurance Requirement—its reasons “why”—are its ability to more efficiently and fairly allocate

   the cost of firearm accidents and incentivize responsible firearm practices.

          First, and as discussed above, liability insurance excels at reallocating and spreading risk.

   As with many other risky activities that have benefited from liability-insurance systems, poorly
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   allocated risk is inherent in firearm ownership. Firearms unavoidably are involved in some

   number of accidents and their attendant costs, including emergency response, healthcare,

   property damage, lost work, and lost quality of life. Requiring that firearm users carry liability

   insurance means that these costs are not borne by victims or their families, by taxpayers, or

   solely by unlucky gun owners whose firearms are involved in accidents, but are instead fairly

   allocated among those who choose to engage in the risky activity—carrying a firearm in

   public—and shared with insurers who underwrite the risk. The mandate further ensures such

   liability insurance is adopted on a community scale, thereby greatly enhancing the cost-sharing

   effects.

              Second, liability insurance can create financial incentives for responsible firearm

   ownership and thus, risk reduction. As discussed above, insurance companies have a

   demonstrated ability to influence individual behavior by providing financial incentives to

   responsible policyholders. Such incentives tend to reduce accidents, as shown in the areas of

   auto insurance, workers’ compensation, and malpractice insurance.

              Here, the Insurance Requirement guarantees that New Jersey gun owners will comprise a

   sizable segment of the regional liability-insurance market. As with any large population of

   customers, insurance companies have a financial interest in limiting their payouts for accident

   claims. As they have done in other contexts, insurance companies can reduce their payouts for

   gun accidents by incentivizing safe practices that reduce such accidents.

              Much as liability-insurance providers have incentivized safer driving and safer

   workplaces, insurance companies can offer premium discounts to incentivize safe firearm

   practices. Incentives for safe firearm practices, such as safe storage and the use of cable locks,

   trigger locks, or other safety designs, can result in positive changes in all aspects of firearm carry



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   and use. For example, New Jersey unfortunately has low rates of safe gun storage. Safe gun

   storage is a practice that could be incentivized through private market insurance mechanisms.

   Recent research from the Rutgers New Jersey Gun Violence Research Center shows that only

   53.2 percent of New Jersey firearm owners “always” store their firearms in a locked location

   (e.g., a gun safe), while approximately 25 percent never do; and that only 71.5 percent of New

   Jersey firearm owners “always” store firearms with a locking device in place (e.g., a cable lock),

   and approximately 15 percent never do, or do only occasionally. Rutgers New Jersey Gun

   Violence Research Center, 2022 Report on Firearms in New Jersey, at 5–6 (2022). Popularizing

   safe storage practices is a simple way to reduce firearm-related risks statewide. In particular,

   because most gun owners will likely satisfy their insurance requirement, at least initially, through

   homeowners’ or renters’ insurance, these insurers may well consider factoring storage practices

   into premium calculations. By incentivizing these safe behaviors for New Jerseyans with public-

   carry licenses, insurance can thus promote firearm safety in addition to protecting the insured

   and accident victims from financial losses associated with accidents.

          Although the Insurance Requirement is conduct separate and apart from that protected by

   the Second Amendment, to the extent that it presents a burden to those subject to it, that burden

   is trivial. Indeed, this requirement is quite consistent with the status quo, because most people

   already own qualifying insurance, or can easily obtain it. See Insurance Information Institute,

   2021 Insurance Fact Book 90. Homeowners’ and renters’ insurance policies already cover

   liability for accidental harms, including from firearms. See Kochenburger at 1275 (surveying

   policies); see, e.g., ISO, Homeowners 3-Special Form (HO 00 03 05 11) (2010) (standard

   homeowners policy form, which includes “accident[s]” resulting in both “Bodily injury” and

   “Property damage” under its definition of a covered “Occurrence,” and does not exclude



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   firearms); see also, e.g., N.J. Prop. Liab. Guar. Ass’n v. Brown, 417 A.2d 117, 118 (N.J. Super.

   App. Div. 1980) (holding that “homeowners insurance policy . . . covered an occurrence at [the

   policyholder’s] business office when a revolver which he was showing to [a friend] was

   accidentally discharged, resulting in serious bodily injury to [the friend]”).

          Many people already carry such coverage, including 93 percent of homeowners. See

   Insurance Information Institute, 2021 Insurance Fact Book 90. Although the number of insured

   renters is lower, 6 New Jersey residents who do not currently carry homeowners’ or renters’

   insurance can easily obtain it with an off-the-shelf policy sold by many insurance companies

   authorized to do business in New Jersey.

          Thus, the benefits that gave New Jersey legislators reason to enact the Insurance

   Requirement—its “why”—are substantial relative to its minimal burden—its “how.”

          B.      The Insurance Requirement’s Relative “How” and “Why” Are Consistent
                  with the Balance Struck by Historical Regulation.

          Given the Insurance Requirement’s significant benefits and minimal burden, it is

   undoubtedly “comparable” with the justification and burden of historical regulations. See Bruen,

   142 U.S. at 2133. This is clear from comparing the “how” and “why” of the Insurance

   Requirement with historical regulations.

                  1.      The Insurance Requirement Is Consistent with the History of
                          American Governments’ Allocating the Costs of Firearm Accidents.

          As explained in the State’s briefing, early American governments allocated the costs of

   firearm accidents (the “why”) by employing a draconian “how”: strict liability for gun owners.




   6
    See Number of Renters Is on the Rise—But Few of Them Have Insurance, INS. INFO. INS. (Sept.
   22, 2014), https://bit.ly/3NXlxW7.

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   The transition from a strict-liability approach to the modern negligence system in the United

   States, discussed in Section III.B, applies to firearm accidents as well.

          Early American courts inherited their strict-liability approach to firearm accidents from

   the English common law, where the rule had been that “where one shoots at [a mark] and

   wounds a man, although it be against his will, yet he shall be called a trespasser against his will.”

   See Wex S. Malone, Ruminations on the Role of Fault in the History of the Common Law of

   Torts, 31 La. L. Rev. 1, 13 (1970) (quoting Tithe, Y.B. 21 Hen. 7, f. 27, pl. 5). Strict liability

   continued to be the rule in both England and the United States throughout the founding era;

   indeed, an American commentator writing as late as the 1930s noted that cases involving gun

   accidents “all indicate the strict accountability to which a person has been held for injury caused

   to another in the vicinity by a discharge incident to the handling of a firearm.” Fred E. Inbau,

   Firearms and Legal Doctrine, 7 Tul. L. Rev. 529, 549–50 (1932–33); see also, e.g., Moody v.

   Ward, 13 Mass. 299 (1816); Cole v. Fisher, 11 Mass. 137 (1814).

          As the negligence standard emerged and replaced strict liability in American tort law

   generally, courts also applied this reform to cases involving firearm accidents. For example, in

   an 1856 case involving an accidental shooting, a Missouri court compared the old and new

   standards, noting that “the old system of actions” was “much stricter,” because “it was no

   defence, in such cases, that the act occurred by misadventure, and without the wrong-doer’s

   intending it.” Morgan v. Cox, 22 Mo. 373, 376–77 (1856).

          Importantly, regardless of the liability standard courts have applied, the government has

   always used the law to assign responsibility for the costs of accidents. By requiring liability

   insurance that covers the costs of firearm accidents, New Jersey is merely continuing this

   traditional government role of assigning responsibility and allocating these costs. The difference



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   between then and now is that, compared to the strict-liability standard that founding-era

   American governments applied against gun owners, the Insurance Requirement employs a much

   less burdensome and more effective “how,” and achieves the “why” of allocating responsibility

   and costs in a much more effective way.

                  2.     The Insurance Requirement Is Consistent with the History of
                         Financial Requirements Related to Firearms.

          To the extent that the Insurance Requirement is a burden to gun owners, it is only a

   minimal financial requirement associated with gun ownership, which American governments

   have always imposed and courts have not struck down. 7

          Notably, it is not clear that early Americans considered such financial requirements to

   implicate the Second Amendment at all. See Saul Cornell, History and Tradition or Fantasy and

   Fiction: Which Version of the Past Will the Supreme Court Choose in NYSRPA v. Bruen?, 49

   Hastings Const. L.Q. 145, 154 (2022) (stating that these financial requirements “posed no

   constitutional issues for Americans in the pre-Civil War era,” and only “intensified” in the period

   following the Civil War). For example, some of the same 19th-century laws that required “rifle”

   and “pistol galleries” to pay annual sums applied equally to “bowling alleys,” demonstrating that

   early Americans did not understand the Second Amendment to create any special constitutional

   protection from payments related to gun use. See Laws of the State of Texas, An Act


   7
     See, e.g., 1844 Miss. Laws, Rates of Taxation § 1, Revenue, An Act to Amend and Reduce into
   one the several Acts in Relation to the Revenue of this State, and for other purposes (1844)
   (Mississippi law requiring “two dollars on each dueling or pocket pistol”); 1851 R.I. Pub. Laws 9
   § 2 (1851) (“[T]wo hundred dollars per annum on any person who shall own or keep a pistol
   gallery [or] rifle gallery.”); Ordinances and Joint Resolutions of the City of San Francisco § 13
   (1854) (San Francisco ordinance requiring “ten dollars per quarter” required from “[e]very
   person, house, or firm engaged in keeping a pistol or rifle shooting gallery”); 1856–1857 N.C.
   Sess. Laws 34, Pub. Laws, An Act Entitled “Revenue,” ch. 34, § 23, pt. 4. (1856–1857) (“On
   every pistol, except such as are used exclusively for mustering, and on every bowie-knife, one
   dollar and twenty five cents . . . .”).

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   Authorizing the Corporate Authorities of the Town of Dangerfield, Fairfield and Springfield, to

   tax ten pin alleys, billiard tables, and pistol galleries § 1 (1860); 1870 La. Acts 127, Persons,

   Trades, Professions and Occupations Subject to Taxation, § 3, pt. 6 (1870).

          Similar financial burdens have endured to the present day, and in evaluating

   constitutional challenges to them, courts have rightly questioned whether such fees implicate the

   Second Amendment at all. See, e.g., Bauer v. Becerra, 858 F.3d 1216, 1227 (9th Cir. 2017)

   (stating “we need not—and do not—decide whether [a firearm sale] fee implicates the Second

   Amendment” because it would survive under either level of scrutiny, while applying the pre-

   Bruen two-part test); Kwong v. Bloomberg, 723 F.3d 160, 168 (2d Cir. 2013) (declining to

   “definitively decide” which scrutiny standard applied, because the fee was constitutional

   regardless).

          Regardless, the historical tradition of financial burdens on gun users shows that early

   Americans understood such requirements to be consistent with the Second Amendment, and

   modern courts have not hesitated to uphold gun-related fees and costs as constitutional. See, e.g.,

   Bauer, 858 F.3d 1216; Kwong, 723 F.3d 160 (upholding “residential handgun licensing fee”).

          Thus, to the extent that the Insurance Requirement implicates the Second Amendment by

   imposing a minimal financial burden on a subset of New Jersey gun owners, it is consistent with

   many other firearm-related financial requirements throughout American history. If anything, the

   liability-insurance requirement has vastly more potential for benefit than a simple fee, and

   therefore uses a familiar “how”—insurance—to achieve a “why”—the efficient and fair

   allocation of the costs of firearm accidents—that considers historical regulations in the context of

   modern societal concerns and solutions.




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   V.     Conclusion

           For the foregoing reasons, as well as the reasons set forth in Defendants’ briefing,

   Plaintiffs’ Motion for Preliminary Injunction should be denied.



   Dated: February 16, 2023                             Respectfully Submitted,

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                                    CERTIFICATE OF SERVICE

          I certify that on February 16, 2023, I electronically filed the foregoing BRIEF OF

   BRADY AS AMICUS CURIAE IN SUPPORT OF DEFENDANTS’ OPPOSITION TO

   PLAINTIFFS’ MOTIONS FOR PRELIMINARY INJUNCTION with the Clerk of the United

   States District Court for the District of New Jersey. Counsel for all parties are registered

   CM/ECF users and will be served via CM/ECF.

                                                         /s/ David A. Luttinger, Jr.
   Dated: February 16, 2023                              David A. Luttinger, Jr. (DL3180)
